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                   Thomas-Jensen
                    Affirmation
                     (redacted)


                      Exhibit # 61
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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF RHODE ISLAND


 STATE OF NEW YORK; STATE OF CALIFORNIA;
 STATE OF ILLINOIS; STATE OF RHODE ISLAND;
 STATE OF NEW JERSEY; COMMONWEALTH OF
 MASSACHUSETTS; STATE OF ARIZONA; STATE
 OF COLORADO; STATE OF CONNECTICUT;
 STATE OF DELAWARE; THE DISTRICT OF
 COLUMBIA; STATE OF HAWAI’I; STATE OF
 MAINE; STATE OF MARYLAND; STATE OF
 MICHIGAN; STATE OF MINNESOTA; STATE OF
 NEVADA; STATE OF NORTH CAROLINA; STATE
 OF NEW MEXICO; STATE OF OREGON; STATE OF
 VERMONT; STATE OF WASHINGTON; STATE OF
 WISCONSIN,

 Plaintiffs,
 v.

 DONALD TRUMP, IN HIS OFFICIAL CAPACITY AS
 PRESIDENT OF THE UNITED STATES; U.S.       C.A. No. 1:25-cv-00039
 OFFICE OF MANAGEMENT AND BUDGET;
 MATTHEW J. VAETH, IN HIS OFFICIAL CAPACITY
 AS ACTING DIRECTOR OF THE U.S. OFFICE OF
 MANAGEMENT AND BUDGET; U.S.
 DEPARTMENT OF THE TREASURY; SCOTT
 BESSENT, IN HIS OFFICIAL CAPACITY AS
 SECRETARY OF THE TREASURY; PATRICIA
 COLLINS IN HER OFFICIAL CAPACITY AS
 TREASURER OF THE U.S.; U.S. DEPARTMENT OF
 HEALTH AND HUMAN SERVICES; DOROTHY A.
 FINK, M.D., IN HER OFFICIAL CAPACITY AS
 ACTING SECRETARY OF HEALTH AND HUMAN
 SERVICES; U.S. DEPARTMENT OF EDUCATION;
 DENISE CARTER, IN HER OFFICIAL CAPACITY
 AS ACTING SECRETARY OF EDUCATION; U.S.
 FEDERAL EMERGENCY MANAGEMENT
 AGENCY; CAMERON HAMILTON, IN HIS
 OFFICIAL CAPACITY AS ACTING
 ADMINISTRATOR OF THE U.S. FEDERAL
 EMERGENCY MANAGEMENT,

 Defendants.



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                            DECLARATION OF DAVID MOHLER

 I, David Mohler, hereby depose and state as follows:

        1.      I am the Executive Director of the Office Transportation Planning at the

 Massachusetts Department of Transportation (“MassDOT”). I make this declaration as a

 representative of MassDOT, in part based on the business records of MassDOT, and in part based

 on my personal knowledge and experience. In my official capacity and based on my personal

 knowledge and other sources of information that I have obtained and reviewed in that official

 capacity, I am familiar with, and if called upon to do so would be competent to testify to, the

 facts and circumstances set forth herein.

        2.      On April 28, 2023, the Commonwealth applied for a Climate Pollution Reduction

 Grant (“CPRG”) from the U.S. Environmental Protection Agency (“EPA”). The Commonwealth

 received its CPRG award on August 9, 2023.

        3.      The Commonwealth’s CPRG funds have been and continue to be used for

 deliverables required by EPA’s CPRG Formula Grants for Planning Program Guidance for States,

 Municipalities, and Air Pollution Control Agencies (March 1, 2023). The CPRG is also used to

 pay personnel charges of employees working on these issues, including in the Office of Climate

 Innovation and Resilience (“OCIR”).

        4.      On November 9, 2023, the Commonwealth received notification from EPA that

 the grant had been enrolled in the Automated Standard Application for Payments (“ASAP”)

 system. The notification stated: “You may now access the grant for draw down of needed funds

 at your discretion. Please keep in mind that the drawdown should be requested for immediate

 needs to cover expenses incurred or forecasted expenses for no more than a period of 3-5




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        9.      MassDOT was provided with the above-shown screenshot, taken by

 representatives of the Comptroller’s Office, as confirmation that the CPRG grant is currently

 suspended in the ASAP system.

        10.     As of February 4, 2025, the Commonwealth continues to incur allowable

 expenses under the grant and is preparing to submit a request for reimbursement in the amount of

 $172,321.86 for already paid charges. The Commonwealth expects to receive an invoice this

 week from AECOM in the amount of $109,860 for which the Commonwealth will attempt to

 seek reimbursement after payment. Should the CPRG remain suspended, the Commonwealth

 will not be able to receive reimbursement for these expenses.

        11.     If the Commonwealth is unable to access CPRG funds for a significant period of

 time, it will not be able to use CPRG funds to pay its project consultant, AECOM, for expenses

 already accrued, and it may be forced to modify its contract with AECOM.

        12.     On June 10, 2004, MassDOT submitted an application for a Low-Carbon

 Transportation Materials (LCTM) Grant.

        13.     The LCTM program is administered by the Federal Highway Administration

 (FHWA) using funding provided under the Inflation Reduction Act.

        14.     On November 14, 2024, MassDOT was notified that it had been selected for an

 award of $31,933,577.

        15.     MassDOT entered in negotiations with FHWA on the grant agreement.

        16.     On January 24, 2025, during a monthly check-in the MassDOT Project Manager

 for the grant was orally informed by his FHWA counterpart that the negotiations were on-hold

 due to a freeze in funding.

        17.     As of today, the project is still on-hold and negotiations cannot progress.



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         18.   This grant is intended to support testing of low-carbon cement to supplement

 traditional cement on bridge abutments, bridge decks and concrete pavement and to test its

 efficacy. The grant will be implemented through a contract with the cement maker, as well as

 contracts with the Massachusetts Institute of Technology and the University of Massachusetts. If

 this grant is not executed, MassDOT may have to modify its planned contracts with those

 entities.

 Signed under penalties of perjury this 5th day of February, 2025.



                                             David Mohler
                                             Executive Director of the Office Transportation &
                                             Planning, MassDOT




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